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                                       75012



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

PARKERVISION, INC.

                           Plaintiff,

      v.

QUALCOMM INCORPORATED,                            CASE NO.: 6:14-CV-00687-PGB-
QUALCOMM ATHEROS, INC.                            LHP

                           Defendants.



JOINT MOTION FOR ENTRY OF FINAL JUDGMENT PURSUANT TO THE
      MANDATE OF THE FEDERAL CIRCUIT—TIME-SENSITIVE

      Plaintiff ParkerVision, Inc. (ParkerVision) and Defendants Qualcomm

Incorporated and Qualcomm Atheros, Inc. (collectively, Qualcomm) jointly move the

Court for entry of final judgment pursuant to the order and mandate of the United

States Court of Appeals for the Federal Circuit issued on July 16, 2024. See Dkts. 696

and 697. For reasons outlined in the order, see Dkt. 696 at 2, the parties also

respectfully request that final judgment be entered before August 9, 2024. L.R. 3.01(e).

      On March 22, 2022, this Court granted summary judgment of non-infringement

for the patents remaining in the case and directed the Clerk to “enter judgment in favor

of [Qualcomm] and against [ParkerVision],” “terminate any pending deadlines,” and

“close the file.” Dkt. 685. The next day, the Clerk entered a separate judgment under

the Court’s directive, and closed the case. Dkt. 687. The parties treated that separate

judgment as final: ParkerVision appealed to the Federal Circuit, and the parties briefed
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and argued the appeal to a panel of the Federal Circuit on November 6, 2023. See Dkt.

696 at 2. On June 27, 2024, the Federal Circuit panel sua sponte issued an order for

additional briefing from the parties. ParkerVision, Inc. v. Qualcomm Incorporated, No. 22-

1755, Dkt. 57 at 1-3 (Fed. Cir.). The panel noted that, because this Court’s judgment

did not address each of Qualcomm’s counterclaims for invalidity, it appeared that

those counterclaims remained unadjudicated. Id. at 2. It thus ordered briefing that

addressed “the following questions: (1) Is there an appealable final judgment in this

case? (2) If not, should the court dismiss the appeal for lack of jurisdiction, subject to

reinstatement under the same docket number, without the payment of an additional

filing fee, if, within 30 days of [its] Order, ParkerVision appeals from the entry of an

appealable order (e.g., if the counterclaims for invalidity are dismissed, or judgment is

entered pursuant to Federal Rule of Civil Procedure 54(b))?” Id. at 2-3.

      The parties conferred and filed a joint brief stating the parties’ belief that (1),

there was an appealable final judgment because the record reflected a clear intent that

the judgment would end the case. The parties had proceeded with the understanding

that Qualcomm’s counterclaims for invalidity were effectively dismissed without

prejudice, subject to revival in the event of remand following appeal. Id., Dkt. 58 at 3-

4. And (2), the parties noted that, should the Federal Circuit panel find no final

appealable judgment and dismiss the case subject to reinstatement, they would

promptly and jointly move this Court for entry of a final judgment that expressly

dismisses Qualcomm’s invalidity counterclaims without prejudice, subject to revival

in the event of remand following appeal. Id. at 4-5.

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      On July 17, 2024, the Federal Circuit panel entered an order noting the parties’

joint contentions but determining that there is no final judgment in this case. “Because

Qualcomm’s counterclaims for invalidity remain unadjudicated, there is no final

judgment and we lack jurisdiction over ParkerVision’s appeal.” Dkt. 696 at 2. The

panel thus ordered that:

      (1) Th[e] appeal is dismissed for lack of jurisdiction, subject to
      reinstatement under the same docket number without payment of an
      additional filing fee if, by no later than August 15, 2024, ParkerVision
      appeals from the entry of an appealable order.
      (2) If the appeal is reinstated, it will be decided by the present panel, based
      on the briefs already filed and the oral argument heard on November 6,
      2023.
      (3) Each side shall bear its own costs.
      (4) The mandate shall issue forthwith.

Id. The Federal Circuit’s mandate in accordance with that order, returning the case

back to this Court, was issued the same day. See Dkt. 697.

      Pursuant to that mandate, the parties now jointly move this Court for entry of

a final judgment addressing the Federal Circuit’s concern that Qualcomm’s

counterclaims for invalidity remain unadjudicated. See Dkt. 696 at 2. In particular, the

parties respectfully request that the Court enter a final judgment that: (1) incorporates

this Court’s order and judgment of non-infringement in favor of Qualcomm and

against ParkerVision entered on March 22 and March 23, 2022 (Dkts. 685 and 687),

and (2) also expressly dismisses Qualcomm’s counterclaims for invalidity without

prejudice, subject to revival in the event of remand following appeal.

      This motion is also time-sensitive. L.R. 3.01(e). To permit reinstatement of the

appeal and decision by the panel on the briefs already filed and oral argument already

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heard in the Federal Circuit—as envisioned by the Federal Circuit panel, see Dkt. 696

at 2—the parties respectfully request that the final judgment be entered before August

9, 2024. This will ensure that ParkerVision is able to appeal from the newly entered

final judgment no later than the August 15, 2024 date set by the Federal Circuit panel.

And that, in turn, will permit a more expeditious resolution by the Federal Circuit on

the briefs and argument already presented, which will minimize the burden on the

parties, on this Court, and on the Federal Circuit itself, which has already invested

substantial time considering the merits of the issues raised on appeal.

      A proposed final judgment is attached to this motion simply for the Court’s

consideration.




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 July 23, 2024
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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing

document has been served on all counsel of record via the Court’s ECF system on July

23, 2024.

                                       /s/ Ava K. Doppelt
                                      Ava K. Doppelt




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